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                            UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF INDIANA
                                    HAMMOND DIVISION
                                     :
In re:                               :
                                     :
    Kenneth Willaim Novak, Jr. DBA   :  Case No.: 11-20744
    A-1 Tree Care & Removal          :  Chapter 13
                                     :  Judge Kent Lindquist
       Debtor.                       :  *********************
                                     :



                           Deutsche Bank National Trust Company, as
                           Trustee for Ameriquest Mortgage Securities Inc.,
                           Asset-Backed Pass-Through Certificates, Series
                           2001-A, by and through its mortgage servicing
Name of creditor           agent Ocwen Loan Servicing, LLC,                        Court claim no. (if known)       18

Last four digits of any number
you use to identify the debtor's
account:                           3420



Response to Notice of Final Cure Payment
 As contemplated by Fed. R. Bankr. Proc. 3002, Deutsche Bank National Trust Company, as Trustee for Ameriquest Mortgage
 Securities Inc., Asset-Backed Pass-Through Certificates, Series 2001-A, by and through its mortgage servicing agent Ocwen Loan
 Servicing, LLC, ("Creditor") hereby responds to that certain Notice of Final Cure Payment ("Cure Notice") dated 12/01/15 and filed as
 Docket No. 281

Pre-Petition Default Payments (applicable option is checked)
      Agrees that Debtor(s) has paid in full the amount required to cure the default on Creditor's claim
    Disagrees that Debtor(s) has paid in full the amount required to cure the default on Creditor's claim and states that the total
 amount due to cure pre-petition arrears is:



Post-Petition Default Payments (applicable option is checked)
      Agrees that Debtor(s) is current with respect to all payments consistent with § 1322(b)(5) of the Bankruptcy Code.
      Disagrees that Debtor(s) is current with respect to all payments consistent with § 1322(b)(5), and states that the total amount due
 to cure post-petition arrears is:


 The amounts due identified on this response may not, due to timing, reflect all payments sent to Creditor as of the date of the Cure
 Notice. In addition, the amounts due may include payments reflected on the NDC but which have not yet been received and/or
 processed by Creditor.

 Pursuant to Federal Bankruptcy Rule 3002.1(h), within 21 days of the service of this Response, the Trustee and/or the Debtor shall
 request a hearing to determine whether the Debtor has cured the default and paid all required post-petition amounts.
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Sign Here

X               /s/ Sarah E. Willms                               Date    December      15   , 2015
    Signature

Print:               Sarah E. Willms (28840-64)                   Title   Attorneys for Creditor

                     John R. Cummins (11532-10)

                     Edward H. Cahill (0088985)

                     Adam B. Hall (0088234)


Company              Manley Deas Kochalski LLC

Address              P.O. Box 165028
                   Number           Street

                     Columbus, OH 43216-5028
                   City                      State   ZIP Code

Contact phone        614-220-5611                                 Email    sew@manleydeas.com
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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing Response to Notice of Final

Cure was served on the parties listed below via e-mail notification:

   Nancy Gargula, One Michiana Square Building, Suite 555, 100 East Wayne Street, South
   Bend, IN 46601-2349, 574-236-8105

   Paul Chael, 401 West 84th Drive, Suite C, Merrillville, IN 46410

   Christopher R. Schmidgall, Attorney for Kenneth Willaim Novak, Jr. DBA A-1 Tree Care
   &amp; Removal, Six W. 73rd Avenue, Merrillville, IN 46410, bankruptcy@garryaweiss.com


                                                                                   15 2015:
and on the below listed parties by regular U.S. mail, postage prepaid on December ___,

   Amanda C. Hires, Attorney for Kenneth Willaim Novak, Jr. DBA A-1 Tree Care &amp;
   Removal, Six W. 73rd Avenue, Merrillville, IN 46410

   Kenneth Willaim Novak, Jr. DBA A-1 Tree Care &amp; Removal, 18007 Holtz Road,
   Lowell, IN 46356
                                                                /s/ Sarah E. Willms
